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 UNITED STATES DEPARTMENT OF JUSTICE
 OFFICE OF THE UNITED STATES TRUSTEE
 ANDREW R. VARA
 UNITED STATES TRUSTEE, REGIONS 3 & 9
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

                                                :   Chapter 11
  In re:                                        :   Case No. 22-19381
                                                :
  Hobby Lobby Marine LLC,                       :   Hearing Date: TBD
                                                :
  Debtor.                                       :   The Honorable Judge Kathryn C. Ferguson
                                                :
                                                :

           NOTICE OF MOTION BY THE UNITED STATES TRUSTEE UNDER 11 U.S.C.
           §1112(b) FOR AN ORDER CONVERTING CASE TO CHAPTER 7, OR, IN THE
                             ALTERNATIVE, DISMISSING CASE

 TO: ALL PERSONS ON ATTACHED CERTIFICATE OF SERVICE

           PLEASE TAKE NOTICE that the United States Trustee, by and through his counsel,

 shall move before the Honorable Judge Kathryn C. Ferguson, as set forth by the Court in the Order

 Shortening Time, at the United States Bankruptcy Court, District of New Jersey, Clarkson S.

 Fisher U.S. Courthouse, 402 East State Street, Trenton, New Jersey, under 11 U.S.C. § 1112(b),

 for an Order Converting Case to Chapter 7, or in the alternative, Dismissing Case, and for such

 other and further relief as this Court deems just and appropriate.
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        PLEASE TAKE FURTHER NOTICE that the United States Trustee shall rely upon the

 Memorandum of Law and Certification submitted herewith.

        PLEASE TAKE FURTHER NOTICE that any papers in opposition to the Motion must

 be filed with the Court and served upon the United States Trustee as set forth by the Court in the

 Order Shortening Time.


                                              ANDREW R. VARA
                                              UNITED STATES TRUSTEE
                                              REGIONS 3 & 9


                                              /s/ Alexandria Nikolinos
                                              Alexandria Nikolinos
                                              Trial Attorney


 DATED: May 8, 2023
